                   IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
___________________________________________
                                            )
UNITED STATES OF AMERICA                    )    Docket No. 3:19-cr-226-FDW
                                            )
      v.                                    )    INFORMATION
                                            )    PURSUANT TO
OMAR CARILLO-VILLAGRANA                     )    21 U.S.C. 851
 __________________________________________ )

       NOW COMES the United States of America, by and through R. Andrew Murray, United

States Attorney for the Western District of North Carolina, and files this Information with the

Court setting forth the Defendant’s previous convictions for purposes of 21 U.S.C. § 851.

 Charge                       Conviction Date            Jurisdiction and Sentence
                              (Offense/Arrest Date)
 Conspiracy to Distribute     3/22/2011 guilty plea      Eastern District of Michigan (Detroit)
 500 Grams or more of         5/17/2011 sentencing       Docket 2:10-cr-20377-BAF-MAR-3;
 Cocaine                      5/23/2011 judgment         Sentence: 60 months imprisonment


       Respectfully submitted this 6th day of August 2019.

                                     R. ANDREW MURRAY
                                     UNITED STATES ATTORNEY

                                     /s/ Steven R. Kaufman
                                     STEVEN R. KAUFMAN
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       Case 3:19-cr-00226-FDW-DSC Document 4 Filed 08/06/19 Page 1 of 1
